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 1                                    UNITED STATES DISTRICT COURT

 2                         WESTERN DISTRICT OF WASHINGTON AT SEATTLE

 3    ________________________________________________________________
                                        )
 4     UNITED STATES OF AMERICA,        ) CR17-00135-TSZ
                                        )
 5                      Plaintiff,      ) SEATTLE, WASHINGTON
                                        )
 6     v.                               ) January 18, 2018
                                        )
 7     YONGGUANG WU,                    ) Sentencing Hearing -
                                        ) Redacted
 8                      Defendant.      )
                                        )
 9    ________________________________________________________________

10                      VERBATIM REPORT OF PROCEEDINGS
                     BEFORE THE HONORABLE THOMAS S. ZILLY
11                       UNITED STATES DISTRICT JUDGE
      ________________________________________________________________
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14     APPEARANCES:

15     For the Plaintiff:                          Catherine L. Crisham
                                                   U.S. Attorney's Office
16                                                 700 Stewart Street
                                                   Suite 5220
17                                                 Seattle, WA 98101

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19     For the Defendant:                          Risa Dee Woo
                                                   Lee & Lee
20                                                 1001 4th Avenue
                                                   Suite 4368
21                                                 Seattle, WA 98154

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               Proceedings stenographically reported and transcript produced with computer-aided technology

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 1                  THE COURT:            Good afternoon, ladies and gentlemen.

 2    Please be seated.

 3         The clerk will please call the calendar.

 4                  THE CLERK:            Thank you, Your Honor.

 5         Case No. CR17-135-Z, United States of America v. Wu.

 6         Counsel, please stand and make your appearance for the

 7    record.

 8                  MS. CRISHAM:              Good afternoon, Your Honor.                          Catherine

 9    Crisham for the United States.

10                  THE COURT:            Good afternoon.

11                  MS. WOO:          Good afternoon, Your Honor.                           Risa Woo on

12    behalf of Mr. Wu.

13                  THE COURT:            All right.            And we have a court-certified

14    interpreter who will be interpreting from Cantonese or --

15                  THE INTERPRETER:                 Mandarin, Your Honor.

16                  THE COURT:            -- to English, and the reverse --

17                  THE INTERPRETER:                 Yes.

18                  THE COURT:            -- Ms. Chow?

19                  THE INTERPRETER:                 Yes.

20                  THE COURT:            Are the parties ready to proceed with

21    sentencing on this matter?

22                  MS. CRISHAM:              Yes, Your Honor.

23                  MS. WOO:          Yes, Your Honor.

24                  THE COURT:            Did the defendant have the presentence

25    report and sentencing recommendations read to him in his native



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 1    language?

 2                  MS. WOO:          We did review that with him, Your Honor, yes.

 3                  THE COURT:            All right.            And in addition, I have received

 4    and reviewed the plea agreement, the government's sentencing

 5    memo, the defense presentence memo, and there were two motions to

 6    seal, which were taken care of by minute order earlier today.

 7         Anything else I should have received and reviewed?

 8                  MS. CRISHAM:              No, Your Honor.                Thank you.

 9                  THE COURT:            Are there any factual disputes of the facts

10    stated in the presentence report for purposes of sentencing?

11                  MS. CRISHAM:              Not from the government, Your Honor.

12                  MS. WOO:          None from the defendant.

13                  THE COURT:            All right.            Then I will adopt as facts all

14    the facts stated in the presentence report with respect to this

15    defendant, and based on those facts, I tentatively adopt the

16    guideline computations that probation has set forth in the

17    presentence report.                 That's a total offense level of 15, a

18    criminal history category of I, and a guideline range of 18 to 24

19    months.

20         Is there any objection to the Court's calculations of the

21    guidelines?

22                  MS. CRISHAM:              No, Your Honor, not from the government.

23                  MS. WOO:          No, Your Honor.

24                  THE COURT:            All right.            I will hear from the government

25    first as to what the appropriate sentence is.



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 1                  MS. CRISHAM:              Thank you, Your Honor.

 2         Your Honor, as set forth in our sentencing memorandum, the

 3    government joins in the recommendation of both the defense and

 4    the probation office, and we ask the Court to sentence Mr. Wu to

 5    time served.

 6                  THE COURT:            And that, as I understand it, is eight

 7    months and 13 days?

 8                  MS. CRISHAM:              That's correct, Your Honor.

 9                  THE COURT:            And why aren't you recommending more?

10    There's a guidelines range of 18 to 24.

11                  MS. CRISHAM:              There is, Your Honor.

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 3                  THE COURT:            But this defendant's role was quite

 4    significant, was it not?

 5                  MS. CRISHAM:              Your Honor, it was, but I think it's

 6    really quite identical to Mr. Thompson, when it comes down to it,

 7    at least in terms of his involvement.                                I think, if anything,

 8    Mr. Thompson had been involved for longer and played more roles.

 9         Mr. Wu was the boyfriend of Ms. Wang, and I think as a result

10    of that, he really became involved, through her, in kind of the

11    day-to-day operations of this organization.                                     He would be with

12    her, he would pick up prostitutes at the airport, he would take

13    them to and from different brothel locations as they would be

14    moved to different areas across the state.                                    He also occasionally

15    brought several prostitutes to outcall prostitution dates at

16    different locations, and he also collected money and dropped off

17    supplies.

18         In contrast to that, Mr. Thompson was involved also in

19    scouting out apartment locations, leasing some of those in his

20    own name, as well as everything else that Mr. Wu did.                                             So I think

21    that, really, when it comes down to it, they're really fairly

22    comparable.          If anything, Mr. Thompson was more involved.

23                  THE COURT:            All right.            Well, what other reasons do you

24    have for a time-served sentence?

25                  MS. CRISHAM:              Your Honor, we acknowledge that this is a



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 1    very significant crime; we believe it's a very significant crime.

 2    I think that, again, a lot of people tend to believe that

 3    prostitution is a victimless crime, and we very much disagree

 4    with that, particularly in this case, whereas I think it's true

 5    that nearly all the women that we spoke to, that law enforcement

 6    spoke to, acknowledged that they were aware, or at least

 7    suspected, the jobs that Ms. Wang was recruiting them for was in

 8    fact prostitution.

 9         Almost all of these women were really in dire financial

10    straits and had immigration issues, and wouldn't have become

11    involved in this otherwise.                       They were recruited from across the

12    country to come here to Washington State.                                   Most of them did not

13    speak English.             They were not familiar with the area.                                  They were

14    placed in apartments where they did not know the location, and

15    they didn't know anyone else.                         And so they were really dependent

16    on Mr. Wu and his co-conspirators and really made quite

17    vulnerable.

18                  THE COURT:            And it went on for how long?

19                  MS. CRISHAM:              The investigation lasted about three

20    years, and I believe the --

21                  THE COURT:            I don't mean the investigation.                              How long

22    did this conspiracy and the transportation of these women last?

23                  MS. CRISHAM:              We believe it lasted at least three years,

24    Your Honor --

25                  THE COURT:            Three years.



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 1                  MS. CRISHAM:              -- and more, given, you know, when we

 2    became aware of it.                 It appeared to be a very functioning

 3    organization.

 4                  THE COURT:            Well, help me understand why the government

 5    is agreeing, with respect to Ms. Wang, to recommend 24 months?

 6                  MS. CRISHAM:              I think Ms. Wang, and we will -- you know,

 7    we thought about a joint recommendation, and we were able to come

 8    to that agreement.                I think that, you know, she also claimed to

 9    have been abused when she was brought over here.

10                  THE COURT:            Well, she's not here, and her lawyer may or

11    may not be here.

12         It just seems to me there's a large conspiracy over a long

13    period of time, serious charges, and it was appropriate to bring

14    these charges, but when we look at what you're recommending

15    across the board, I'm not impressed with the vigor in which the

16    government is pursuing the case.

17                  MS. CRISHAM:              And, Your Honor, we came with those

18    recommendations based upon all of our knowledge of the case,

19    after negotiating with the defense, our desire to avoid having

20    the victims come to court and have to testify about the

21    experiences they went through.                          They are difficult and

22    challenging cases to prosecute, and all of those factors came

23    into our calculation.

24         What I think really sets Mr. Wu apart --

25                  THE COURT:            Did any of the victims write a letter or



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 1    submit a Victim Impact Statement?

 2                  MS. CRISHAM:              They did not, Your Honor.                        They were

 3    reached out to by our office, and none of them chose to do that.

 4                  THE COURT:            And were any of them available, willing to

 5    testify?

 6                  MS. CRISHAM:              We believe so, yes.                   We had a number of

 7    them testify in front of the grand jury.                                  Several of them were

 8    pursuing immigration relief.                        As part of that, they would have

 9    been required to cooperate with the government.                                        So we were

10    prepared to put witnesses in front -- victims in front of the

11    jury.     But, again, knowing how traumatic that can be, for a

12    victim to talk about this and the prostitution, that's when we

13    came into our calculation.

14         So we recognize that we are recommending well below the

15    guideline levels for Mr. Wu.

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24         And so for all of those reasons, Your Honor, we do believe

25    that a sentence of time served is appropriate.



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 1                  THE COURT:            Did Mr. Wu rent any of the apartments or

 2    locations where this was all going on, or was he just collecting

 3    money and moving the women to various locations?

 4                  MS. CRISHAM:              He was collecting money and doing the

 5    transporting.            He did not, in his own name, lease any of these

 6    apartments.

 7                  THE COURT:            Well, did he lease apartments in anyone

 8    else's?

 9                  MS. CRISHAM:              No, no, no.

10                  THE COURT:            He didn't lease apartments?

11                  MS. CRISHAM:              No, not to our knowledge.                        No.

12                  THE COURT:            All right.            Anything else?

13                  MS. CRISHAM:              No.      Thank you, Your Honor.

14                  THE COURT:            I will hear from the defense.

15                  MS. WOO:          Good afternoon, Your Honor.

16         I did want to --

17                  THE COURT:            Good afternoon, counsel.

18                  MS. WOO:          I did want to let the Court know that there

19    are several members of Mr. Wu's family here, that are here in

20    support of him.

21         Would you like me to introduce you to each of them?

22                  THE COURT:            Certainly.

23                  MS. WOO:          Okay.        Mr. Wu's wife, Ms. Yan Yi Chen, Y-a-n

24    Y-i C-h-e-n.

25                  THE COURT:            Do you want to stand if you are here?



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 1          Thank you.            Good afternoon.

 2                   MS. WOO:          His mother-in-law, the last name, Z-h-o-n-g,

 3    and first, M-i-n-g.                  Oh, sorry, she's not actually here.

 4          His sister-in-law, Ms. Chen.                           The first is Yueling,

 5    Y-u-e-l-i-n-g.              There's a co-worker also present, Mr. {sic} Lin.

 6    The first is Y-u C-h-a-n, Ms. Lin.                              Extended family members,

 7    Mr. Xue, X-u-e, and Ms. Zhong, Z-h-o-n-g, and a family friend,

 8    Ms. Xue, X-u-e.              One more family member, also Ms. Xue.                                   The first

 9    is S-h-a-o-c-h-a-n-g.

10          Your Honor, I don't have too much to add to the written

11    materials that have already been submitted.                                      It is our

12    recommendation for credit for time served.                                     I think Ms. Crisham

13    has covered all of the arguments that I also would have made

14    myself.

15          Initially, what I wanted to draw attention to is the fact

16    that Mr. Wu is actually the only individual who pled guilty to

17    two counts in this, but it's not necessarily indicative of a

18    higher level of involvement.

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23                   THE COURT:            Those two counts are Count 2, conspiracy to

24    transport individuals, and interstate transportation, Count 6?

25                   MS. WOO:          Correct.



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 1           I think the common theme in all the materials from probation,

 2    as well as the government,

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 7           Now, his role shouldn't be diminished.                                  He was a participant

 8    in this conspiracy, but I think, at best, he was a mid-level

 9    conspirator.            He was nowhere near being the ringleader in terms

10    of his involvement.                  It's really reflective of, unfortunately,

11    poor judgment and some naivete.                            Mr. Wu is not necessarily the

12    most sophisticated.                  I think he was kind of easily convinced to

13    participate.            But, nonetheless, poor judgment.                              And though at the

14    time he may not have appreciated the real impact that his

15    involvement had on these women, he now does understand, and he is

16    regretful for participating.

17           I know that he has prepared a statement that he would like to

18    read to the Court at the appropriate time.

19                   THE COURT:            How much money did he receive for what he

20    did?

21                   MS. WOO:          He received, Your Honor, something like $300 a

22    month.       And the rest of it went, to his knowledge, to Ms. Wong.

23                   THE COURT:            And $300 a month for how long?

24                   MS. WOO:          I believe it was for approximately ten months.

25    Yes.



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 1                   THE COURT:            Ten months?

 2                   MS. WOO:          Correct.

 3                   THE COURT:            So approximately $3,000?

 4                   MS. WOO:          Yes.

 5          So, obviously, Your Honor, his involvement in this has

 6    brought embarrassment to himself, has brought embarrassment to

 7    his family, and though he is hopeful to remain in the United

 8    States after his sentence, that's not clear, and he, I think,

 9    remains realistic about the prospect of whether or not he will

10    remain, based on his immigration status.

11          Thank you, Your Honor.

12                   THE COURT:            All right.            I will hear from the defendant,

13    if he wishes to make a statement.                              If you would use the podium,

14    that would be helpful.

15          Good afternoon, sir.

16                   THE DEFENDANT:               Good afternoon.

17                   THE DEFENDANT THROUGH THE INTERPRETER:                                   First of all, I

18    want to apologize to all the victims.

19                   THE INTERPRETER:                 Is this better?

20                   THE DEFENDANT THROUGH THE INTERPRETER:                                   First of all, I

21    want to apologize to all the victims, and also I want to

22    apologize to my family and all my friends.

23          After a long time of thinking, I realize and acknowledge my

24    mistakes.         I will never make the mistakes again, and I will

25    seriously plan for the rest of my life, take good care of my



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 1    family and become a law-abiding citizen and become a citizen that

 2    can contribute to the society.

 3          Now, my most -- my utmost wish is that I could return back to

 4    my family as soon as possible and work hard.                                       I will do my best

 5    to take care of my family, and I don't want them to worry about

 6    me anymore.

 7          That's it.

 8                   THE COURT:            All right.            Thank you, sir.

 9          Remain standing, please.

10          Well, this defendant has been charged with a variety of

11    counts, but he has pled guilty to Count 2, conspiracy to

12    transport individuals in furtherance of prostitution, and

13    Count 6, interstate transportation of one person for the purposes

14    of prostitution.

15          Is that one person, W.X.L., or is that more than one?

16                   MS. CRISHAM:              No.      That's just one person, Your Honor.

17                   THE COURT:            One person.

18          And the overview of this case, and what I'm required to do by

19    law, is to take into account several factors, which I intend to

20    do, in determining what the appropriate sentence is.                                             But the

21    first place we look is the nature and extent of the crime or

22    crimes that have been committed.                             And this is a very troubling

23    prostitution ring that ran for over three years, where various

24    victims were transported from outside the state of Washington

25    into Washington, and were required to reside at various furnished



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 1    apartments for the purpose of sex.                              They were essentially being

 2    forced into prostitution to pay off a debt to Chinese

 3    organizations that facilitated their own illegal entry into the

 4    United States.

 5          This defendant had an important role in this whole conspiracy

 6    by acting as a driver to pick up the women, to deliver them to

 7    various locations, to collect money after they had performed sex,

 8    and to essentially assist the person, Ms. Wang, who will be

 9    sentenced later, who orchestrated this conspiracy.

10          There is just no question that the offense is very troubling,

11    and the guideline range, in my opinion, of 18 to 24 months even,

12    doesn't really -- it seems to me it ought to even be higher than

13    that.      But that's the guideline range.                              I'm not bound by the

14    guideline range.

15          I also have to take a look at and consider this defendant's

16    individual characteristics.                        He has no prior criminal history.

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24          So the question is, what's the appropriate disposition or

25    sentence in this case?                    This defendant has been in custody for



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 1    eight months and 13 days, approximately, and the question is

 2    whether that's enough time, frankly, given the nature and extent

 3    of this conspiracy and his role in it.                                  This is an agreed

 4    recommendation by both the probation officer and the government

 5    lawyer and the defense lawyer, and although it seems to me

 6    perhaps not to capture all of the activities of this defendant,

 7                                                                            I am going to follow

 8    their recommendation.

 9          It will be the judgment of the Court that the defendant be

10    committed to the custody of the Bureau of Prisons for a period of

11    time served, which is eight months and 13 days.                                         That will be

12    followed by one year of supervised release, subject to each of

13    the special conditions, and each of the general conditions as

14    well, that are outlined for supervised release.

15          I find the defendant does not have an ability to pay a fine.

16    I will waive the fine.                    I will assess the $200 special

17    assessment.           And I will advise the defendant that, to the extent

18    the defendant has not waived his right to appeal in the plea

19    agreement, any appeal must be filed within 14 days of the time I

20    sign the judgment.

21          I will ask counsel whether she has a judgment to present.

22                   MS. CRISHAM:              Thank you, Your Honor.

23                   MS. WOO:          If I may approach?

24                   THE COURT:            Any objection to the form of the judgment,

25    counsel?



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 1                   MS. WOO:          No, Your Honor.                I believe it reflects the

 2    Court's ruling.

 3                   THE COURT:            I think you said no, but would you --

 4                   MS. WOO:          No.      No objection.

 5                   THE COURT:            Thank you.

 6                   MS. WOO:          Thanks.

 7                   THE COURT:            I have signed the judgment.                          It will be

 8    filed.

 9          Anything further to come before the Court in this matter?

10                   MS. CRISHAM:              Not from the government, Your Honor.

11                   MS. WOO:          Not from the defense.

12                   THE CLERK:            Thank you.            We will be in recess on this

13    matter.

14                   MS. WOO:          Thank you.

15                                                  (Adjourned.)

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17                                           C E R T I F I C A T E

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19           I, Nickoline M. Drury, RMR, CRR, Court Reporter for the

20    United States District Court in the Western District of

21    Washington at Seattle, do certify that the foregoing is a correct

22    transcript, to the best of my ability, from the record of

23    proceedings in the above-entitled matter.

24                                             /s/ Nickoline Drury

25                                             Nickoline Drury



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